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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

ABDELMAJID LABABNEH,

                                      Petitioner,
       vs.                                                            1:14-cr-00189
                                                                      (MAD)
UNITED STATES OF AMERICA,
                              Respondent.
____________________________________________

APPEARANCES:                                          OF COUNSEL:

ABDELMAJI K. LABABNEH
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Petitioner pro se

UNITED STATES OF AMERICA                              EMMET J. O'HANLON, AUSA
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445 Broadway
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Attorneys for respondent

Mae A. D'Agostino, U.S. District Judge:

                         MEMORANDUM-DECISION AND ORDER

                                       I. INTRODUCTION

       On August 4, 2014, Petitioner pled guilty to Count 1 of the Indictment charging him with

conspiracy to possess with intent to distribute and to distribute a controlled substance, in violation

of 21 U.S.C. §§ 846 and 841(b)(1)(C). See Dkt. No. 25; Dkt. No. 62-1 at 7. On June 16, 2015,

Petitioner was sentenced to a term of imprisonment of ninety-seven months, to be followed by

three-years supervised release, with standard and special conditions. See Dkt. No. 40. Moreover,

pursuant to the plea agreement, Petitioner waived "any and all rights, including those conferred
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by . . . 28 U.S.C. §§ 2241 and 2255, to appeal and/or to collaterally attack . . . [a]ny sentence to a

term of imprisonment of 240 months or less." Dkt. No. 25 at 5.

       On June 26, 2015, Petitioner appealed the conviction and his ninety-seven month sentence

to the Second Circuit. See Dkt. No. 42. On June 6, 2016, the Second Circuit affirmed the

judgment of the District Court. See Dkt. No. 46. On December 3, 2016, Petitioner moved to

reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2). See Dkt. No. 47. The motion was denied

by the Court. See Dkt. No. 48.

       Currently before the Court is Petitioner's motion to vacate his sentence pursuant to 28

U.S.C. § 2255. See Dkt. No. 55.

                                        II. BACKGROUND

       On July 5, 2017, Petitioner filed a motion to vacate his sentence pursuant to 28 U.S.C. §

2255. See Dkt. No. 57. In his motion, Petitioner claims he is entitled to relief for the following

reasons: (1) Petitioner received ineffective assistance of counsel; (2) Petitioner did not knowingly

intelligently, or voluntarily plead guilty; (3) Petitioner did not receive fair warning or notice as to

the controlled nature of XLR-11; (4) Petitioner did not have the required mens rea for the crime

charged because he did not know it was illegal to sell XLR-11; and (5) Petitioner's sentence was

constitutionally unreasonable. Id.

       The Government has opposed Petitioner's motion. See Dkt. No. 62. In its Opposition to

Petitioner's Motion for Relief, the Government argues that: (1) Petitioner did not receive

ineffective assistance of counsel and made his guilty plea knowingly, intelligently, and

voluntarily as evidenced by the court record and his attorney's testimony and (2) the Court should

dismiss the petition without a hearing because Petitioner is not entitled to relief. Id. at 5-8.

                                         III. DISCUSSION

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A.     28 U.S.C. § 2255

       Section 2255 of Title 28 of the United States Code states, in relevant part, that

               [a] prisoner in custody under sentence of a court established by Act
               of Congress claiming the right to be released upon the ground that
               the sentence was imposed in violation of the Constitution or laws of
               the United States, or that the court was without jurisdiction to
               impose such sentence, or that the sentence was in excess of the
               maximum authorized by law, or is otherwise subject to collateral
               attack, may move the court which imposed the sentence to vacate,
               set aside or correct the sentence.

28 U.S.C. § 2255(a).

       Relief under section 2255 is available only "'for a constitutional error, a lack of

jurisdiction in the sentencing court, or an error of law or fact that constitutes 'a fundamental defect

which inherently results in complete miscarriage of justice.'" Graziano v. United States, 83 F.3d

587, 590 (2d Cir. 1996) (quotation omitted). Moreover, a movant under section 2255 is barred

from relitigating questions "'which were raised and considered on direct appeal,'" Riascos-Prado

v. United States, 66 F.3d 30, 33 (2d Cir. 1995) (quotations and other citations omitted), as well as

any issue he could have raised on direct appeal, whether he actually raised it on appeal or not, see

Abbamonte v. United States, 160 F.3d 922, 924 (2d Cir. 1998) (quotation omitted).

       The district court has the authority to dismiss a motion to vacate under section 2255

without a hearing if the record conclusively demonstrates that the petitioner is not entitled to

relief. See Pham v. United States, 318 F.3d 178, 184 (2d Cir. 2003). Further, "'[i]f it plainly

appears from the motion, any attached exhibits, and the record of prior proceedings that the

moving party is not entitled to relief, the judge must dismiss the motion.'" Puglisi v. United

States, 586 F.3d 209, 213 (2d Cir. 2009) (quoting Rules Governing § 2255 Proceedings for the

United States District Courts, Rule 4(b)).

B.     Ineffective assistance of counsel
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          The Sixth Amendment to the United States Constitution provides that "[i]n all criminal

prosecutions, the accused shall enjoy the right . . . to have the Assistance of Counsel for his

defence." U.S. Const. amend. XI. "It has long been recognized that the right to counsel is the

right to the effective assistance of counsel." McMann v. Richardson, 397 U.S. 759, 771 n.14

(1970).

          In assessing a claim that the habeas petitioner has been denied the effective assistance of

counsel to which he is entitled under the Sixth Amendment, the court applies the standard

established by Strickland v. Washington, 466 U.S. 668 (1984). Under that standard, the petitioner

                 "must meet a two-pronged test: (1) he 'must show that counsel's
                 performance was deficient,' 466 U.S. at 687, 104 S. Ct. 2052, so
                 deficient that, 'in light of all the circumstances, the identified acts or
                 omissions were outside the wide range of professionally competent
                 assistance,' id. at 690, 104 S. Ct. 2052; and (2) he must show 'that
                 the deficient performance prejudiced the defense,' id. at 687, 104 S.
                 Ct. 2052, in the sense that 'there is a reasonable probability that, but
                 for counsel's unprofessional errors, the result of the proceeding
                 would have been different,' id. at 694, 104 S. Ct. 2052.

Matthews v. United States, 682 F.3d 180, 186 (2d Cir. 2012) (quotation omitted).

          As to the first prong of Strickland, attorney conduct is subject to an objective standard of

reasonableness, and is accorded deference in light of the "range of legitimate decisions" that

accompanies the various circumstances encountered by counsel. See Strickland, 466 U.S. at 688-

89. As a result, reviewing courts "must indulge a strong presumption that counsel's conduct falls

within the wide range of reasonable professional assistance, bearing in mind that there are

countless ways to provide effective assistance in any given case and that even the best criminal

defense attorneys would not defend a particular client in the same way." United States v. Aguirre,

912 F.2d 555, 560 (2d Cir. 1990) (quoting Strickland, 466 U.S. at 689) (alterations and internal

quotation marks omitted).

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       As to the second prong of Strickland, a petitioner must show that, but for his or her

attorney's deficient performance, there is a reasonable probability that the result would have been

different. See Strickland, 466 U.S. at 694. More is required than a mere showing "that the errors

had some conceivable effect on the outcome of the proceeding," as "not every error that

conceivably could have influenced the outcome undermines the reliability of the result of the

proceeding." Id. at 693.

       "The Strickland standard is 'highly demanding,' . . . and 'rigorous[.]'" Bennett v. United

States, 663 F.3d 71, 85 (2d Cir. 2011) (quotations omitted). An ineffective assistance of counsel

claim "must be rejected if the defendant fails to meet either the performance prong or the

prejudice prong." Id. (citation omitted).

       Petitioner contends that he received ineffective assistance of counsel because his attorney

"lied to [Petitioner], failed to negotiate a decent plea agreement . . . , and then gave [Petitioner]

the terrible advice to take the deal." See Dkt. No. 55 at 15. Specifically, Petitioner contends that

his attorney told him he would receive a sentence of time served and be able to go home. See

id. at 20. The Government counters that Petitioner's plea and Petitioner's attorney's affidavit

contradict Petitioner's assertion.

       In the present matter, the record before the Court clearly demonstrates that Petitioner has

not and cannot meet the high standard necessary to establish that he received ineffective

assistance of counsel because Petitioner was sentenced to an amount of time greater than time

served. Under the first prong of Strickland, Petitioner's attorney's performance was not

objectively deficient. Petitioner claims his attorney failed to negotiate a reasonable plea bargain.

See Dkt. No. 55 at 20. Petitioner's attorney denies this claim in a sworn affidavit, contending that

"[his] efforts resulted in the government's agreement to modify the plea agreement so as to

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preserve [Petitioner's] right to challenge on direct appeal a decision by the District Court to

calculate the offense level using the 1:167 conversion ratio." See Dkt. No. 62-2 at 2.

       Petitioner claims that prejudice is presumed in a case such as his because his "attorney

lied to [him] and deceived [him]." See Dkt. No. 55 at 20. Petitioner's allegations conflict with the

sworn statement of his attorney. Petitioner's attorney admitted that he said "take the deal and you

go home today" to Petitioner. See Dkt. No. 62-2 at 1. This statement, however, was in reference

to the representations by the Assistant United States Attorney that the Government would not

oppose Petitioner's continued release pending sentencing. See id. Petitioner's attorney denied

that he told Petitioner that he would get a sentence of no more than a year and stated that he

explained to Petitioner that the Court would determine his sentence according to the Federal

Sentencing Guidelines. Based on the foregoing, the Court finds that Petitioner has failed to

satisfy either prong under Strickland.

C.     Plea was not Knowingly, Intelligently, and Voluntarily Given

       Petitioner contends he did not knowingly, intelligently, and voluntarily plead guilty

because Petitioner believed he would be sentenced to time served and the plea agreement was not

adequately explained. See Dkt. No. 55 at 18-19. Specifically, Petitioner contends that his

attorney lied to him about the potential sentence he could face. See id. The Government

contends the court record belies Petitioner's argument.

       A section 2255 movant is barred from relitigating issues that could have been raised on

appeal. Abbamonte v. United States, 160 F.3d 922, 924 (2d Cir. 1998). Rule 11 requires "the

court . . . address the defendant personally in open court and inform the defendant of, and

determine that the defendant understands . . . the nature of the charge to which the plea is offered"

before accepting the defendant's plea. Fed. R. Crim. 11(c)(1); see also Conhaim v. United States,

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No. 96-CV-547, 1996 WL 527346, *3 (N.D.N.Y. Sept. 9, 1996) (holding "that to the extent that

petitioner did not raise these alleged deficiencies in the Rule 11 colloquy on his direct appeal, he

is barred from doing so in [his] section 2255 motion").

       Petitioner did not raise the alleged deficiencies with his guilty plea on his direct appeal

and is barred from relitigating them here. Regardless, Plaintiff's argument that his plea was not

knowingly, intelligently, and voluntarily given lacks merit. Here, the transcript of the plea

colloquy make clear Petitioner understood the plea agreement and went over the document with

his attorney. See Dkt. No. 62-1 at 14. The transcript shows Petitioner expressly waived the right

to appeal any sentence of less than 240 months, the statutory maximum, and that his projected

guideline range was 151 to 188 months. See id. at 18. Accordingly, the Court finds that

Petitioner's argument is meritless.

D.     Constitutional Fair Warning and Constitutionality of Sentence

       In his petition, Petitioner contends that his sentence of ninety-seven months was

constitutionally unreasonable. Dkt. No. 55. Petitioner previously argued in his appeal to the

Second Circuit that the district court erred in determining XLR-11 was a controlled substance,

failed to sufficiently vary his sentence, and erred in calculating his base offense. Dkt. No. 46.

The Second Circuit affirmed the judgment of the district court on the grounds that Petitioner's

first and second arguments were waived under the plea agreement. Id. at 2-3. The Second Circuit

determined that Petitioner failed to raise a sufficient challenge to the use of the drug equivalency

conversion ratio in his appeal and the district court made no error in calculating Petitioner's base

offense level. Id. at 3-4.

       Under section 2255, a movant is barred from relitigating questions "which were raised and

considered on direct appeal," Riascos-Prado v. United States, 66 F.3d 30, 33 (2d Cir. 1995)

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(quotations and other citations omitted). Even if the Court considers the substance of the

Petitioner's argument, the claim must fail. Courts have consistently upheld use of the 1:167 ratio.

See United States v. Abdeljawad, No. 1:15-cr-3397, 2018 WL 3025051, *7 (D.N.M. June 18,

2018) (citing cases). Finally, Petitioner's below guideline sentence is not substantially

unreasonable and provides no basis for habeas relief. As such, the Court finds that Petitioner is

barred from relitigating these issues.

E.      Mens Rea

        Petitioner contends that he did not have the requisite mens rea to commit his offense

because he did not know that XLR-11 was a controlled substance. Petitioner is barred from

raising any claims that could have been raised on a direct appeal. Abbamonte v. United States,

160 F.3d 922, 924 (2d Cir. 1998). Moreover, Petitioner waived his ability to collaterally attack his

plea.

        Petitioner's motion would still fail even if he could raise a mens rea argument. Petitioner

is correct that knowledge is necessary to commit an offense. The knowledge requirement can "be

met by showing that the defendant knew the identity of the substance he possessed." McFadden

v. United States, 135 S. Ct. 2298, 2304 (2015). Therefore, if a defendant knows he is distributing

synthetic marijuana but does not know that synthetic marijuana is listed as a controlled substance,

the defendant has the requisite mens rea because ignorance of the law is not a defense to criminal

prosecution. Bryan v. United States, 524 U.S. 184, 196 (1998).

        In Petitioner's case, Petitioner does not deny that he was distributing XLR-11. Instead,

Petitioner claims that he did not know that XLR-11 was a controlled substance because "synthetic

marijuana is still for sale in gas stations and convenience stores all over the Bronx." See Dkt. No.



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55 at 15. Thus, Petitioner's knowledge that he was distributing XLR-11 is sufficient to satisfy the

mens rea requirement.

F.      Certificate of appealability

        The Court notes that 28 U.S.C. § 2253(c)(1) provides, in relevant part, that, "[u]nless a

circuit justice or judge issues a certificate of appealability, an appeal may not be taken to the court

of appeals from . . . (B) the final order in a proceeding under section 2255."1 28 U.S.C.

§ 2253(c)(1). A court may only issue a Certificate of Appealability "if the applicant has made a

substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

        Since Petitioner has failed to make such a showing, the Court declines to issue a

Certificate of Appealability in this matter. See Hohn v. United States, 524 U.S. 236, 239-40

(1998) (quotation omitted).

                                         IV. CONCLUSION

        After carefully reviewing the entire record in this matter, the parties' submissions and the

applicable law, and for the above-stated reasons, the Court hereby

        ORDERS that Petitioner's motion to vacate his sentence pursuant to 28 U.S.C. § 2255 is

DENIED and DISMISSED; and the Court further




        Rule 22 of the Federal Rules of Appellate Procedure also provides that an appeal may
        1

not proceed in such actions "unless a circuit justice or a circuit or district judge issues a certificate
of appealability under 28 U.S.C. § 2253(c)." Fed. R. App. P. 22(b)(1).
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          ORDERS that no Certificate of Appealability shall be issued in this case; and the Court

further

          ORDERS that the Clerk of the Court shall serve a copy of this Memorandum-Decision

and Order on the parties in accordance with the Local Rules; and the Court further

          ORDERS that the Clerk of the Court shall close this case.

IT IS SO ORDERED.

Dated: June 26, 2018
       Albany, New York




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